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DLORES LEGREE, Individually, as surviving Parent,
and Personal Representative of the Estate of ANTHONY
HAWKINS, Deceased;

VIRGINIA HAYES, Individually, as surviving Spouse,
and Personal Representative of the Estate of PHILLIP T.
HAYES, Deceased;

ANN R. HAYNES, Individually, as surviving Spouse,
and Personal Representative of the Estate of WILLIAM
W. HAYNES, Deceased;

THERESA HEALEY, Individually, as surviving Spouse,
and Personal Representative of the Estate of MICHAEL
HEALEY, Deceased;

SHIRLEY HENDERSON, Individually, as surviving
Spouse, and Personal Representative of the Estate of
RONNIE LEE HENDERSON, Deceased;

DIGNA HERNANDEZ, Individually, as surviving
Spouse, and Personal Representative of the Estate of
RAUL HERNANDEZ, Deceased;

LIDIA HERNANDEZ, Individually, as surviving Parent,
and Personal Representative of the Estate of MIRNA A.
DUARTE, Deceased;

DONNA HICKEY, Individually, and as Estate
Representative of the Estate of Brian Hickey, Deceased
and on behalf of all survivors of Brian Hickey;

VICTORIA PRATT, Individually, as surviving Spouse,
and Personal Representative of the Estate of ROBERT
HIGLEY, Deceased;

KAREN HINDS, Individually, as surviving Spouse, and
Personal Representative of the Estate of NEIL HINDS,
Deceased;
KAREN HINDS, on behalf of JAMEER HINDS, minor,
as surviving Child of NEIL HINDS, Deceased;
KAREN GREENE, as surviving Sibling of NEIL
HINDS, Deceased;
COLEEN HINDS, as surviving Sibling of NEIL HINDS,
Deceased;



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ETHLYN HINDS, as surviving Parent of NEIL HINDS,
Deceased;
WADE-ROY HINDS, as surviving Sibling of NEIL
HINDS, Deceased;
KAREN GREENE as Personal Representative of the
Estate of COLLIN HINDS, Deceased, surviving Parent
of NEIL HINDS;

DIXIE HOBBS, Individually, as surviving Parent, and
Personal Representative of the Estate of TARA HOBBS,
Deceased;
DENNIS HOBBS, as surviving Parent of TARA Y.
HOBBS, Deceased;
TAMMY HOBBS GINSBERG, as surviving Sibling of
TARA Y. HOBBS, Deceased;
SONYA HOBBS CUFFEE, as surviving Sibling of
TARA Y. HOBBS, Deceased;
REGINALD HOBBS, as surviving Sibling of TARA Y.
HOBBS, Deceased;
SHERIAN HOBBS LIGHTFOOT, as surviving Sibling
of TARA Y. HOBBS, Deceased;

ALLISON HOBBS, Individually, as surviving Spouse,
and Personal Representative of the Estate of THOMAS
A. HOBBS, Deceased;

JAMES S. HOFFMAN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
MARCIA HOFFMAN, Deceased;

PAMELA HOHLWECK, Individually, as surviving
Spouse, and Personal Representative of the Estate of
THOMAS W. HOHLWECK, JR., Deceased;

ROSEMARIE HOHMANN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHNATHAN HOHMANN, Deceased;

KATHLEEN HOLLAND, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOSEPH HOLLAND, Deceased;

COLLEEN M. HOLOHAN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
THOMAS P. HOLOHAN, Deceased;




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KATHERINE HOORN, Individually, as surviving
Parent, and Personal Representative of the Estate of
BRADLEY HOORN, Deceased;
DENNIS HOORN, as surviving Parent of BRADLEY
HOORN, Deceased;
KARA HOORN, as surviving Sibling of BRADLEY
HOORN, Deceased;

CHRISTOPHER HOWARD, Individually, as surviving
Child, and Personal Representative of the Estate of
GEORGE G, HOWARD, Deceased;

JOANN T. HOWARD, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOSEPH L. HOWARD, Deceased;
JOSEPH HOWARD, as surviving Child of JOSEPH L.
HOWARD, Deceased;
JANICE HOWARD-BATTAGLIA, as surviving Child
of JOSEPH L. HOWARD, Deceased;
ANNE GALIZIA, as surviving Sibling of JOSEPH L.
HOWARD, Deceased;
SUSAN REIDLINGER, as surviving Sibling of JOSEPH
L. HOWARD, Deceased;

JOSEPH HROMADA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
MILAGROS HROMADA, Deceased;

KAREN HUGHES, Individually, as surviving Spouse,
and Personal Representative of the Estate of TIMOTHY
F. HUGHES, Deceased;

BRIDGET HUNTER, Individually, as surviving Parent,
and Personal Representative of the Estate of JOSEPH G.
HUNTER, Deceased;
BRIDGET HUNTER, as Personal Representative of the
Estate of JOSEPH HUNTER, Deceased, surviving Parent
of JOSEPH G. HUNTER;
SEAN HUNTER, as surviving Sibling of JOSEPH G.
HUNTER, Deceased;
TERESA LABO, as surviving Sibling of JOSEPH G.
HUNTER, Deceased;

KATHRYN J. HUSSA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ROBERT R. HUSSA, Deceased;



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ROBERT HUSSA, as surviving Child of ROBERT R.
HUSSA, Deceased;
THOMAS HUSSA, as surviving Child of ROBERT R.
HUSSA, Deceased;

YESENIA IELPI, Individually, as surviving Spouse, and
Personal Representative of the Estate of JONATHAN
IELPI, Deceased;

YELENA ROMANOFF, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DANIEL ILKANAYEV, Deceased;

MARY ILL, Individually, and as Estate
Representative of the Estate of Frederick J. Ill, Jr., Deceased
and on behalf of all survivors of Frederick J. Ill, Jr.;

KENNETH IRBY, Individually, as surviving Sibling,
and Personal Representative of the Estate of
STEPHANIE IRBY, Deceased;
KENNETH IRBY as Personal Representative of the
Estate of FREDERICK IRBY, Deceased, surviving
Parent of STEPHANIE IRBY, Deceased;
KENNETH IRBY as Personal Representative of the
Estate of AGNES IRBY, Deceased, surviving Parent of
STEPHANIE IRBY, Deceased;

MARGARET ISKYAN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN ISKYAN, Deceased;
PAUL ISKYAN, as surviving Sibling of JOHN
ISKYAN, Deceased;
LAURA ISKYAN, as surviving Sibling of JOHN
ISKYAN, Deceased;
JOAN O'BRIEN, as surviving Sibling of JOHN
ISKYAN, Deceased;

BARBARA JACKMAN, Individually, as surviving
Parent, and Personal Representative of the Estate of
BROOKE A. JACKMAN, Deceased;
ERIN JACKMAN, as surviving Sibling of BROOKE A.
JACKMAN, Deceased;
ROSS JACKMAN, as surviving Sibling of BROOKE A.
JACKMAN, Deceased;
BARBARA JACKMAN, as Personal Representative of
the Estate of ROBERT JACKMAN, Deceased, surviving
Parent of BROOKE A. JACKMAN;


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JENNIFER JACOBS, Individually, as surviving Spouse,
and Personal Representative of the Estate of ARIEL L.
JACOBS, Deceased;

KAZIMIERZ JAKUBIAK, Individually, as surviving
Spouse, and Personal Representative of the Estate of
MARIA JAKUBIAK, Deceased;

JU-HSIU JIAN, Individually, as surviving Spouse, and
Personal Representative of the Estate of HWEIDAR
JIAN, Deceased;
WILLIAM JIAN, as surviving Child of HWEIDAR
JIAN, Deceased;
KEVIN JIAN, as surviving Child of HWEIDAR JIAN,
Deceased;

JOY & WILLIAM JOHNSON, Individually, and as Parents
and Estate Representatives of the Estate of William Johnson,
Jr., Deceased and on behalf of all survivors of William
Johnson, Jr.;

CAROL FRANCOLINI, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ARTHUR J. JONES III, Deceased;

LEILA M. JOSEPH, Individually, as surviving Sibling,
and Personal Representative of the Estate of KARL H.
JOSEPH, Deceased;

AMBER MILLER, Individually, as surviving Child, and
Co-Personal Representative of the Estate of KAREN
JUDAY, Deceased;
JAMIE MILLER, Individually, as surviving Child, and
Co-Personal Representative of the Estate of KAREN
JUDAY, Deceased;

JAN KANDELL, Individually, as surviving Child, and
Personal Representative of the Estate of SHARI
KANDELL, Deceased;

EMILY TERRY, Individually, as surviving Spouse, and
Personal Representative of the Estate of ANDREW
KATES, Deceased;
EMILY TERRY on behalf of DANIEL HENRY
KATES, minor, as surviving Child of ANDREW
KATES, Deceased;


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GEORGE KATSIMATIDES, Individually, as surviving
Sibling, and Personal Representative of the Estate of
JOHN KATSIMATIDES, Deceased;

ELIZABETH H. KELLER-BAKER, Individually, as
surviving Spouse, and Personal Representative of the
Estate of CHANDLER KELLER, Deceased;

ROBERTA KELLERMAN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PETER R. KELLERMAN, Deceased;

PATRICIA KELLETT, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOSEPH P. KELLETT, Deceased;
JULIE ANNE KELLETT, as surviving Child of JOSEPH
P. KELLETT, Deceased;
CAMERON KELLETT, as surviving Child of JOSEPH
P. KELLETT, Deceased;
JOSEPH CALLAHAN, Esq. as Personal Representative
of the Estate of ANN SULLIVAN, Deceased, surviving
Parent of JOSEPH P. KELLETT;

JEAN FARRELL, Individually, as surviving Sibling, and
Personal Representative of the Estate of THOMAS R.
KELLY, Deceased;

SUSAN KELLY, Individually, as surviving Spouse, and
Personal Representative of the Estate of JOSEPH A.
KELLY, Deceased;
CHRISTOPHER KELLY, as surviving Child of JOSEPH
A. KELLY, Deceased;
THOMAS KELLY, as surviving Child of JOSEPH A.
KELLY, Deceased;
CAROLINE KELLY, as surviving Child of JOSEPH A.
KELLY, Deceased;
CATHERINE KELLY, as surviving Child of JOSEPH
A. KELLY, Deceased;
TIMOTHY KELLY, as surviving Child of JOSEPH A.
KELLY, Deceased;

MAUREEN KENNEDY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ROBERT C, KENNEDY, Deceased;




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 LEIGH KENNEDY, Individually, as surviving Child,
 and Personal Representative of the Estate of YVONNE
 KENNEDY, Deceased;
 SIMON KENNEDY, as surviving Child of YVONNE
 KENNEDY, Deceased;

ELLA KHALIF, Individually, as surviving Spouse, and
Personal Representative of the Estate of BORIS
KHALIF, Deceased;
STEVEN KHALIF, as surviving Child of BORIS
KHALIF, Deceased;

PAUL KIM, Individually, as surviving Parent, and
Personal Representative of the Estate of ANDREW KIM,
Deceased;

THERESA KING, Individually, as surviving Spouse, and
Personal Representative of the Estate of ROBERT
KING, Deceased;
STEPHEN J. KING, as surviving Child of ROBERT
KING, Deceased;

VERONICA KLARES, Individually, as surviving
Spouse, and Personal Representative of the Estate of
RICHARD J. KLARES, Deceased;

DONNA KLITZMAN, Individually, as surviving
Sibling, and Co-Personal Representative of the Estate of
KAREN KLITZMAN, Deceased;
SUSAN KLITZMAN, Individually, as surviving Sibling,
and Co-Personal Representative of the Estate of KAREN
KLITZMAN, Deceased;

IRINA DUBENSKAYA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
EUGUENI KNIAZEV, Deceased;

MARION KNOX, Individually, as surviving Spouse, and
Personal Representative of the Estate of ANDREW
KNOX, Deceased;

ARSEN KOLPAKOV, Individually, as surviving Child,
and Personal Representative of the Estate of IRINA
KOLPAKOVA, Deceased;




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YUN YU ZHENG, Individually, as surviving Spouse,
and Personal Representative of the Estate of RAYMOND
KUI FAI KWOK, Deceased;

MARIE HUNCHAK, Individually, as surviving Sibling,
and Personal Representative of the Estate of ANDREW
LA CORTE, Deceased;

SHERI ANNE LADLEY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JAMES P. LADLEY, Deceased;

FRANCES A. LAFORTE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
MICHAEL P. LAFORTE, Deceased;
ANDREA LAFORTE, as surviving Child of MICHAEL
P. LAFORTE, Deceased;
RAYMOND M. LAFORTE, as surviving Child of
MICHAEL P. LAFORTE, Deceased;
FRANCES A. LAFORTE on behalf of MICHAEL
LAFORTE, as surviving Child of MICHAEL P.
LAFORTE, Deceased;

EDLENE C. LAFRANCE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ALAN LAFRANCE, Deceased;

COLETTE M. LAFUENTE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JUAN LAFUENTE, Deceased;

CAROL LAIETA, Individually, as surviving Spouse, and
Personal Representative of the Estate of VINCENT
LAIETA, Deceased;

KIMBERLY S. LAMANTIA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
STEPHEN LAMANTIA, Deceased;

MORRIS D. LAMONSOFF, Individually, as surviving
Parent, and Personal Representative of the Estate of
AMY LAMONSOFF, Deceased;
WENDY MCENEANY, as surviving Sibling of AMY
LAMONSOFF, Deceased;
STEVEN LAMONSOFF, as surviving Sibling of AMY
LAMONSOFF, Deceased;



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 DAVID J. CHAZIN, Individually, as surviving Spouse,
 and Personal Representative of the Estate of RUTH
 LAPIN, Deceased;

 HARLENE LARRY, Individually, as surviving Spouse,
 and Personal Representative of the Estate of HAMIDOU
 S. LARRY, Deceased;

KIM L. LASKO, Individually, as surviving Spouse, and
Personal Representative of the Estate of GARY E.
LASKO, Deceased;

LAURA J. LASSMAN, Individually, as surviving
Parent, and Personal Representative of the Estate of
NICHOLAS LASSMAN, Deceased;

MARCELLA LEAHY, Individually, and as Estate
Representative of the Estate of James P. Leahy, Deceased
and on behalf of all survivors of James P. Leahy;

ANDREA N. LEBLANC, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ROBERT LEBLANC, Deceased;
PAUL LEBLANC, as surviving Child of ROBERT
LEBLANC, Deceased;
NISSA YOUNGREN, as surviving Stepchild of
ROBERT LEBLANC, Deceased;

NANCY LYNN ZUCKERMAN, Individually, as
surviving Spouse, and Personal Representative of the
Estate of ALAN J. LEDERMAN, Deceased;

KAREN LEE, Individually, as surviving Spouse, and
Personal Representative of the Estate of RICHARD Y.C.
LEE, Deceased;

MEI JY LEE, Individually, as surviving Child, and
Personal Co-Representative of the Estate of YANG DER
LEE, Deceased;
PHILIP LEE, Individually, as surviving Child, and
Personal Co-Representative of the Estate of YANG DER
LEE, Deceased;

JIN HEE KIM, Individually, as surviving Spouse, and
Personal Representative of the Estate of HYUN JOON
LEE, Deceased;


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MARIA LEGRO, Individually, as surviving Sibling, and
Personal Representative of the Estate of ADRIANA
LEGRO, Deceased;
JEANETTE LEGRO, as surviving Sibling of ADRIANA
LEGRO, Deceased;
JUAN LEGRO, as surviving Sibling of ADRIANA
LEGRO, Deceased;

DONALD LEISTMAN, as Personal Representative of
the Estate of DAVID R. LEISTMAN, Deceased;
MARYCLAIR LEISTMAN, as surviving Spouse, and
Personal Representative of the Estate of DAVID R.
LEISTMAN, Deceased;

INGRID LENIHAN, Individually, as surviving Spouse,
 and Personal Representative of the Estate of JOSEPH A.
LENIHAN, Deceased;

SUSAN LENOIR, Individually, as surviving Spouse, and
Personal Representative of the Estate of JOHN
ROBINSON LENOIR, Deceased;

CHRISTINE LEVEEN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JEFFERY E. LEVEEN, Deceased;

CHRISTY FERER, Individually, as surviving Spouse,
and Personal Representative of the Estate of NEIL D.
LEVIN, Deceased;

 ROBERTA J. LEVINE, Individually, as surviving
 Spouse, and Personal Representative of the Estate of
 ROBERT M. LEVINE, Deceased;

 MELVIN LEWIS, Individually, as surviving Child, and
 Personal Representative of the Estate of MARGARET
 LEWIS, Deceased;

 HAYDEE C. LILLO, Individually, as surviving Spouse,
 and Personal Representative of the Estate of CARLOS
 LILLO, Deceased;

 THOMAS E. TIGHE, Individually, as surviving Spouse,
 and Personal Representative of the Estate of DIANE T.
 LIPARI, Deceased;



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ENRICA NACCARATO, Individually, as surviving
Sibling, and Personal Representative of the Estate of
LORRAINE LISI, Deceased;

EMILY LIZCANO, Individually, as surviving Spouse,
and Personal Representative of the Estate of HAROLD
LIZCANO, Deceased;

KATHLEEN KEELER LOZIER, Individually, as
surviving Spouse, and Personal Representative of the
Estate of GARY W. LOZIER, Deceased;

MAUREEN KELLY, Individually, as surviving Spouse,
and Personal Representative of the Estate of MARK
LUDVIGSEN, Deceased;

MARIE LUKAS, Individually, as surviving Parent, and
Personal Representative of the Estate of MARIE
LUKAS, Deceased;

MICHELLE PEGNO, Individually, as surviving Spouse,
and Personal Representative of the Estate of MICHAEL
P. LUNDEN, Deceased;
MICHELLE PEGNO on behalf of MATTHEW PEGNO,
minor as surviving Child of MICHAEL P. LUNDEN,
Deceased;

ANNE MACFARLANE, Individually, as surviving
Parent, and Personal Representative of the Estate of
MARIANNE MACFARLANE, Deceased;
GEORGE MACFARLANE, as surviving Sibling of
MARIANNE MACFARLANE, Deceased;
JOSEPH MACFARLANE, as surviving Sibling of
MARIANNE MACFARLANE, Deceased;

ANDREA MAFFEO, Individually, as surviving Sibling,
and Personal Representative of the Estate of
JENNIEANN MAFFEO, Deceased;
SAM MAFFEO, as surviving Parent of JENNIEANN
MAFFEO, Deceased;
ANDREA MAFFEO, as Personal Representative of the
Estate of FRANCES MAFFEO, Deceased, surviving
Parent, of JENNIEANN MAFFEO;
JOSEPH MAFFEO, as surviving Sibling of
JENNIEANN MAFFEO, Deceased;



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PAMELA ANN MAGGITTI, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOSEPH MAGGITTI, Deceased;

SHARI MAIO, Individually, as surviving Spouse, and
Personal Representative of the Estate of JOSEPH MAIO,
Deceased;

REBECCA L MARCHAND, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ALFRED MARCHAND, Deceased;

JOHN MARTIN, Individually, as surviving Sibling, and
Personal Representative of the Estate of KAREN A.
MARTIN, Deceased;

BETTYANN MARTINEAU, Individually, as surviving
Spouse, and Personal Representative of the Estate of
BRIAN E. MARTINEAU, Deceased;

JUAN MARTINEZ, JR., Individually, as surviving
Sibling, and Personal Representative of the Estate of
WALESKA MARTINEZ, Deceased;

LORI MASCALI, Individually, as surviving Spouse, and
Personal Representative of the Estate of JOSEPH
MASCALI, Deceased;

RAYNETTE MASCARENHAS, Individually, as
surviving Spouse, and Personal Representative of the
Estate of BERNARD MASCARENHAS, Deceased;

DOROTHY MAURO-JASTREMSKI, Individually, as
surviving Spouse, and Personal Representative of the
Estate of CHARLES A. MAURO, Deceased;

PEARL MAYNARD, Individually, as surviving Parent,
and Personal Representative of the Estate of KEITHROY
MAYNARD, Deceased;

MERYL MAYO, Individually, as surviving Spouse, and
Personal Representative of the Estate of ROBERT
MAYO, Deceased;
MERYL MAYO on behalf of CORBIN MAYO, minor,
as surviving Child of ROBERT MAYO, Deceased;



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JEANNE MCALARY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JAMES MCALARY, Deceased;
JILLIAN MCALARY, as surviving Child of JAMES
MCALARY, Deceased;
JAMES MCALARY, as surviving Child of JAMES
MCALARY, Deceased;
JOSEPH MCALARY, as surviving Child of JAMES
MCALARY, Deceased;
KAREN HIGDON, as surviving Sibling of JAMES
MCALARY, Deceased;
BRYAN MCALARY, as surviving Sibling of JAMES
MCALARY, Deceased;

ANN MCCARTHY, Individually, as surviving Spouse,
and Personal Representative of the Estate of ROBERT G.
MCCARTHY, Deceased;
ANN MCCARTHY on behalf of SHANE MCCARTHY,
minor as surviving Child of ROBERT G. MCCARTHY,
Deceased;

WILLIAM MCCARTHY, Individually, as surviving
Parent, and Personal Representative of the Estate of
MICHAEL MCCARTHY, Deceased;

BETTY ANN MCCARTHY, Individually, as surviving
Parent, and Personal Representative of the Estate of
JUSTIN MCCARTHY, Deceased;

MICHELLE MCCRANN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
CHARLES A. MCCRANN, Deceased;

SUSAN MCDERMOTT, Individually, as surviving
Spouse, and Personal Representative of the Estate of
MATTHEW MCDERMOTT, Deceased;

JOHN MCDOWELL, Individually, as surviving Parent,
and Personal Representative of the Estate of JOHN F.
MCDOWELL, JR., Deceased;

MARY BETH MCERLEAN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN T. MCERLEAN, JR., Deceased;




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MARGARET MCGINLEY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DANIEL MCGINLEY, Deceased;

ILIANA MCGINNIS-GUIBERT, Individually, as
surviving Spouse, and Personal Representative of the
Estate of THOMAS MCGINNIS, Deceased;

CYNTHIA MCGINTY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
MICHAEL MCGINTY, Deceased;

JILL MCGOVERN, Individually, as surviving Spouse,
and Personal Representative of the Estate of SCOTT M.
MCGOVERN, Deceased;
ALANA MCGOVERN, as surviving Child of SCOTT
M. MCGOVERN, Deceased;
JILL MCGOVERN on behalf of NICOLE
MCGOVERN, minor, as surviving Child of SCOTT M.
MCGOVERN, Deceased;
TARA BAYER, as surviving Sibling of SCOTT M.
MCGOVERN, Deceased;

THERESA MCGOVERN, Individually, as surviving
Child, and Personal Representative of the Estate of ANN
W. MCGOVERN, Deceased;

 VIRGINIA MCKEON, Individually, as surviving
 Spouse, and Personal Representative of the Estate of
 BARRY MCKEON, Deceased;

 RUBINA COX-HOLLOWAY, Individually, as surviving
 Parent, and Personal Representative of the Estate of
 DARRYL L. MCKINNEY, Deceased;

 GEORGE MCLAUGHLIN, Individually, as surviving
 Parent, and Personal Representative of the Estate of
 GEORGE P. MCLAUGHLIN, JR., Deceased;

 DEBRA MCSWEENEY, Individually, as surviving
 Spouse, and Personal Representative of the Estate of
 TIMOTHY MCSWEENEY, Deceased;

 JOANN MEEHAN, Individually, as surviving Spouse,
 and Personal Representative of the Estate of DAMIAN
 MEEHAN, Deceased;



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JOANN MEEHAN on behalf of DAMIAN MEEHAN,
JR., minor, as surviving Child of DAMIAN MEEHAN,
Deceased;
JOANN MEEHAN on behalf of MADISON MEEHAN,
minor, as surviving Child of DAMIAN MEEHAN,
Deceased;

JOVIANA MERCADO, Individually, as surviving
Spouse, and Personal Representative of the Estate of
STEVE MERCADO, Deceased;

OLGA MERINO, Individually, as surviving Spouse, and
Personal Representative of the Estate of GEORGE L.
MERINO, Deceased;

KOULA MERKOURIS, Individually, as surviving
Spouse, and Personal Representative of the Estate of
GEORGE MERKOURIS, Deceased;

ANNE MCNEIL, Individually, as surviving Spouse, and
Personal Representative of the Estate of MARTIN
MICHELSTEIN, Deceased;

FREDERYK MILEWSKI, Individually, as surviving
Parent, and Personal Representative of the Estate of
LUKASZ MILEWSKI, Deceased;

JENNIFER MINGIONE, Individually, and as Estate
Representative of the Estate of Thomas Mingione, Deceased
and on behalf of all survivors of Thomas Mingione;

RICHARD VILLA, Individually, as surviving Sibling,
and Personal Representative of the Estate of SHARON
CHRISTINA MILLAN, Deceased;
MAURICIO MILLAN, as surviving Parent of SHARON
CHRISTINA MILLAN, Deceased;
CHRISTINA MILLAN, as surviving Parent of SHARON
CHRISTINA MILLAN, Deceased;
PATRICIA MARZOCCHI, as surviving Sibling of
SHARON CHRISTINA MILLAN, Deceased;
CARLOS VILLA, as surviving Sibling of SHARON
CHRISTINA MILLAN, Deceased;

FAITH MILLER, Individually, as surviving Spouse, and
Personal Representative of the Estate of ROBERT
ALAN MILLER, Deceased;



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DINA MILLER, as surviving Child of ROBERT ALAN
MILLER, Deceased;
MELANIE PAVELIS, as surviving Child of ROBERT
ALAN MILLER, Deceased;
EDWARD MILLER, as surviving Sibling of ROBERT
ALAN MILLER, Deceased;
STEVEN MILLER, Individually, as surviving Sibling,
and Personal Representative of the Estate of ROBERT
ALAN MILLER, Deceased;

DIANE MILLER, Individually, as surviving Spouse, and
Personal Representative of the Estate of HENRY A.
MILLER, JR. Deceased;

MARJORIE MILLER, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOEL MILLER, Deceased;

RICHARD A. PITINO, Individually, as surviving Estate
Rep, and Personal Representative of the Estate of
WILLIAM G. MINARDI, Deceased;

BARBARA MINERVINO, Individually, as surviving
Spouse, and Personal Representative of the Estate of
LOUIS J. MINERVINO, Deceased;
LAINA MINERVINO, as surviving Child of LOUIS J.
MINERVINO, Deceased;
MARISA MINERVINO, as surviving Child of LOUIS J.
MINERVINO, Deceased;

JOANNE MODAFFERI, Individually, as surviving
Spouse, and Personal Representative of the Estate of
LOUIS MODAFFERI, Deceased;

ANNA MOJICA, Individually, as surviving Spouse, and
Personal Representative of the Estate of MANUEL
MOJICA, JR., Deceased;

DIANE MONAHAN, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOHN G.
MONAHAN, Deceased;

 SARADHA MOORTHY, Individually, as surviving
 Spouse, and Personal Representative of the Estate of
 KRISHNA MOORTHY, Deceased;




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 ROBERTA MORELL, Individually, as surviving
 Spouse, and Personal Representative of the Estate of
 GEORGE MORELL, Deceased;

SURI MORGENSTERN, Individually, as surviving
Parent, and Personal Representative of the Estate of
NANCY MORGENSTERN, Deceased;

NANCY MORONEY, Individually, as surviving Spouse,
and Personal Representative of the Estate of DENNIS
MORONEY, Deceased;

KIMBERLY MARTONE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
CHRISTOPHER M. MORRISON, Deceased;

EMILY VELEZ MOTRONI, Individually, as surviving
Spouse, and Personal Representative of the Estate of
MARCO MOTRONI, Deceased;

CHRIS MOTRONI, as surviving Child of MARCO
MOTRONI, Deceased;

PATRICK J. MULLAN, Individually, and as Estate
Representative of the Estate of Michael Mullan, Deceased
and on behalf of all survivors of Patrick J. Mullan;

CATHY LYNN BIRCH, Individually, as surviving
Sibling, and Personal Representative of the Estate of
MARC A. MUROLO, Deceased;

ELVIRA MURPHY, Individually, as surviving Spouse,
and Personal Representative of the Estate of PATRICK
MURPHY, Deceased;

JUDITH BRAM MURPHY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
BRIAN J. MURPHY, Deceased;

ELIZABETH MURPHY, Individually, as surviving
Parent, and Personal Representative of the Estate of
CHARLES A. MURPHY, Deceased;

GAIL S. CLARK, Individually, as surviving Spouse, and
Personal Representative of the Estate of RICHARD T.
MYHRE, Deceased;



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RICHARD B. NAIMAN, Individually, as surviving
Child, and Personal Representative of the Estate of
MILDRED R. NAIMAN, Deceased;

EDWARD NAVARRO, Individually, as surviving
Parent, and Personal Representative of the Estate of
KAREN S. NAVARRO, Deceased;

WILLIAM NELSON, Individually, as surviving Spouse,
and Personal Representative of the Estate of THERESA
GINGER NELSON-RISCO, Deceased;

EVELYN TEPEDINO, Individually, as surviving Parent,
and Personal Representative of the Estate of JODY
TEPEDINO NICHOLO, Deceased;

GEORGE NICOSIA, Individually, as surviving Spouse,
and Personal Representative of the Estate of
KATHLEEN A. NICOSIA, Deceased;
PHYLLIS HAWK, as surviving Mother of KATHLEEN
A. NICOSIA, Deceased;
KIMBERLY MEYER, as surviving Sibling of
KATHLEEN A. NICOSIA, Deceased;

MERRILLY E. NOETH, Individually, as surviving
Parent, and Personal Representative of the Estate of
MICHAEL NOETH, Deceased;

DANA MCGOWAN NOONAN, Individually, as
surviving Spouse, and Personal Representative of the
Estate of ROBERT W. NOONAN, Deceased;
CHARLES NOONAN, as surviving Child of ROBERT
W. NOONAN, Deceased;
ANNE C. NOONAN, as surviving Parent of ROBERT
W. NOONAN, Deceased;
WALTER P. NOONAN, as surviving Parent of
ROBERT W. NOONAN, Deceased;
ASHLEY NOONAN, as surviving Sibling of ROBERT
W. NOONAN, Deceased;
ANNE WELLINGTON NOONAN ROBERTSON, as
surviving Sibling of ROBERT W. NOONAN, Deceased;
KELLY NOONAN, as surviving Sibling of ROBERT W.
NOONAN, Deceased;

 JEFFREY LOVIT, ESQ., as Personal Representative of
 the Estate of JACQUELINE NORTON, Deceased;



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JASON SEYMOUR, as surviving Child of
JACQUELINE NORTON, Deceased;
JOHN SEYMOUR, as surviving Child of JACQUELINE
NORTON, Deceased;
JAMES SEYMOUR, as surviving Child of
JACQUELINE NORTON, Deceased;

JEFFREY LOVIT, ESQ., Individually, as Personal
Representative of the Estate of ROBERT G. NORTON,
Deceased;

WILLIAM B. NOVOTNY, Individually, as surviving
Sibling, and Co-Personal Representative of the Estate of
BRIAN C. NOVOTNY, Deceased;
MICHAEL C. NOVOTNY, Individually, as surviving
Sibling, and Co-Personal Representative of the Estate of
BRIAN C. NOVOTNY, Deceased;
DANIEL NOVOTNY, as surviving Sibling of BRIAN C.
NOVOTNY, Deceased;
MICHAEL C. NOVOTNY, as Co-Personal
Representative of the Estate of JOHN B. NOVOTNY,
Deceased, surviving Sibling of BRIAN C. NOVOTNY;
WILLIAM B. NOVOTNY, as Co-Personal
Representative of the Estate of JOHN B. NOVOTNY,
Deceased, surviving Sibling of BRIAN C. NOVOTNY;

ARLENE NUSSBAUM, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JEFFERY NUSSBAUM, Deceased;
CRAIG NUSSBAUM, as surviving Child of JEFFERY
NUSSBAUM, Deceased;
MELISA BRUNSCHWIG, as surviving Child of
JEFFERY NUSSBAUM, Deceased;

LISANNE MACKENZIE, Individually, as surviving
Parent, and Personal Representative of the Estate of
JAMES P. O'BRIEN, JR., Deceased;

KELLY HAYES, Individually, as surviving Spouse, and
Personal Representative of the Estate of SCOTT J.
O'BRIEN, Deceased;

WILLIAM O'CONNOR, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DIANA J. O'CONNOR, Deceased;




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LYNNE O'CONNOR, Individually, as surviving Spouse,
and Personal Representative of the Estate of RICHARD
J. O'CONNOR, Deceased;

DENNIS O'CONNOR, SR., Individually, as surviving
Parent, and Personal Representative of the Estate of
DENNIS J. O'CONNOR, JR., Deceased;

GERALDINE DAVIE, Individually, as surviving
Sibling, and Personal Representative of the Estate of
AMY O'DOHERTY, Deceased;
MAURA O'DOHERTY LEE, as surviving Sibling of
AMY O'DOHERTY, Deceased;
JAMES WALLACE O'GRADY, Individually, as
surviving Parent, and Personal Representative of the
Estate of JAMES A. O'GRADY, Deceased;
SARA O'GRADY, as surviving Parent of JAMES A.
O'GRADY, Deceased;
KRISTIN O'GRADY EVANS, as surviving Sibling of
JAMES A. O'GRADY, Deceased;

ANDREA O'HAGAN, Individually, as surviving Spouse,
and Personal Representative of the Estate of THOMAS
G. O'HAGAN, Deceased;
ANDREA O'HAGAN on behalf of PATRICK
O'HAGAN, minor as surviving Child of THOMAS G.
O'HAGAN, Deceased;
ANDREA O'HAGAN on behalf of PIERCE O'HAGAN,
minor, as surviving Child of THOMAS G. O'HAGAN,
Deceased;

MARY JEAN MCCARTHY O'LEARY, Individually, as
surviving Spouse, and Personal Representative of the
Estate of GERALD THOMAS O'LEARY, Deceased;
MICHAEL PATRICK O'LEARY, as surviving Child of
GERALD THOMAS O'LEARY, Deceased;

OLIVA TONY, Individually, as surviving Sibling, and
Personal Representative of the Estate of LINDA OLIVA,
Deceased;

SHERYL JANE OLIVER, Individually, as surviving
Spouse, and Personal Representative of the Estate of
EDWARD K. OLIVER, Deceased;
EMILY OLIVER, as surviving Child of EDWARD K.
OLIVER, Deceased;



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EDWARD OLIVER, as surviving Child of EDWARD K.
OLIVER, Deceased;
BARBARA OLIVER, as surviving Parent of EDWARD
K. OLIVER, Deceased;
DONALD OLIVER, as surviving Parent of EDWARD
K. OLIVER, Deceased;
DONALD OLIVER, as surviving Sibling of EDWARD
K. OLIVER, Deceased;
BARBARA SMITH, as surviving Sibling of EDWARD
K. OLIVER, Deceased;
JAMES OLIVER, as surviving Sibling of EDWARD K.
OLIVER, Deceased;

ELIZABETH REGO, Individually, as surviving Parent,
and Personal Representative of the Estate of LEAH E.
OLIVER, Deceased;

JOHN ERIC OLSON, Individually, as surviving Spouse,
and Personal Representative of the Estate of MAUREEN
L. OLSON, Deceased;

LAUREN MURPHY LEWIS, Individually, as surviving
Spouse, and Personal Representative of the Estate of
MATTHEW T. O'MAHONY, Deceased;

HOLLY O'NEILL, Individually, as surviving Spouse,
and Personal Representative of the Estate of SEAN G. C.
O'NEILL, Deceased;

HARRY ONG, JR., Individually, as surviving Sibling,
and Personal Representative of the Estate of BETTY
ANN ONG, Deceased;

DEBORAH OPPERMAN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
MICHAEL OPPERMAN, Deceased;
ELIZABETH CAGGIANO, as surviving Child of
MICHAEL OPPERMAN, Deceased;
MICHAEL OPPERMAN, JR., as surviving Child of
MICHAEL OPPERMAN, Deceased;

STANLEY WEINSTEIN, Individually, as surviving
Parent, and Personal Representative of the Estate of
LISA CAREN ORFI-EHRLICH, Deceased;




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SHEILA ORNEDO, Individually, as surviving Spouse,
and Personal Representative of the Estate of RUBEN
ORNEDO, Deceased;

ALFREDO F. ORTIZ, Individually, as surviving Parent,
and Personal Representative of the Estate of
ALEXANDER ORTIZ, Deceased;

BARBARA LYNCH, Individually, as surviving Spouse,
and Personal Representative of the Estate of ROBERT
W. O'SHEA, Deceased;

FELICIANA UMANZOR, Individually, as surviving
Parent, and Personal Representative of the Estate of
ELSY C. OSORIO, Deceased;

JOANNA OSTROWSKI, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JAMES OSTROWSKI, Deceased;

KENNETH OSWALD, Individually, as surviving Parent,
and Personal Representative of the Estate of JASON
OSWALD, Deceased;

SUSAN OU, Individually, as surviving Spouse, and
Personal Representative of the Estate of MICHAEL C.
OU, Deceased;

KATHLEEN OWENS, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PETER OWENS, JR., Deceased;
JOSEPH OWENS, as surviving Child of PETER
OWENS, JR., Deceased;
THOMAS OWENS, as surviving Child of PETER
OWENS, JR., Deceased;
MARYELLEN OWENS, as surviving Child of PETER
OWENS, JR., Deceased;

YVETTE PABON, Individually, as surviving Spouse,
and Personal Representative of the Estate of ANGEL
PABON, Deceased;

SAMPATH PAKKALA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DEEPA PAKKALA, Deceased;




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LISA PALAZZO, Individually, as surviving Spouse, and
Personal Representative of the Estate of JEFFERY M.
PALAZZO, Deceased;
LISA PALAZZO on behalf of SAMANTHA PALAZZO,
minor, as surviving Child of JEFFERY M. PALAZZO,
Deceased;

LISA PALAZZO, Individually, as surviving Spouse, and
Personal Representative of the Estate of THOMAS
PALAZZO, Deceased;

DONNA PAOLILLO, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOHN
PAOLILLO, Deceased;

LINDA PASCUMA, Individually, as surviving Spouse,
and Personal Representative of the Estate of MICHAEL
J. PASCUMA, JR., Deceased;

SEAN PASSANANTI, Individually, as surviving Child,
and Personal Representative of the Estate of HORACE
PASSANANTI, Deceased;

IRENE DURBIN, Individually, as surviving Sibling, and
Personal Representative of the Estate of SUZANNE H.
PASSARO, Deceased;
IRENE DURBIN, as Personal Representative of the
Estate of HELENE S. PASSARO, Deceased, surviving
Parent of SUZANNE H. PASSARO;
IRENE DURBIN, as Personal Representative of the
Estate of ANTHONY F. PASSARO, Deceased,
 surviving Parent of SUZANNE H. PASSARO;

KANTILAL PATEL, Individually, as surviving Parent,
and Personal Representative of the Estate of MANISH
PATEL, Deceased;

BLANCA GUTIERREZ DE PAZ, Individually, as
surviving Parent, and Personal Representative of the
Estate of VICTOR HUGO GUTIERREZ PAZ,
Deceased;

NINA BARNES, as Personal Representative of the
Estate of DURRELL PEARSALL, JR., Deceased;




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SOPHIE PELLETIER-MARTINELLI, Individually, as
surviving Spouse, and Personal Representative of the
Estate of MIKE PELLETIER, Deceased;

MARY GOLA PEREZ, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ANTHONY PEREZ, Deceased;
ANTHONY PEREZ, as surviving Child of ANTHONY
PEREZ, Deceased;
ALEXIS PEREZ, as surviving Child of ANTHONY
PEREZ, Deceased;

PATRICIA PERRONCINO, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOSEPH PERRONCINO, Deceased;

JOSEPHINE PERROTTA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
EDWARD PERROTTA, Deceased;

FRANK K. PEZZUTI, Individually, as surviving Parent,
and Personal Representative of the Estate of KALEEN E.
PEZZUTI, Deceased;

HELEN PFEIFER, Individually, as surviving Parent, and
Co-Personal Representative of the Estate of KEVIN
PFEIFER, Deceased;
WILLIAM PFEIFER, Individually, as surviving Parent,
and Co-Personal Representative of the Estate of KEVIN
PFEIFER, Deceased;

LINDA PICKFORD, Individually, as surviving Parent,
and Personal Representative of the Estate of
CHRISTOPHER PICKFORD, Deceased;

DANIEL POLATSCH, Individually, as surviving
Sibling, and Personal Representative of the Estate of
LAURENCE POLATSCH, Deceased;
LINDA BODIAN, as surviving Parent of LAURENCE
POLATSCH, Deceased;
BERNARD POLATSCH, as surviving Parent of
LAURENCE POLATSCH, Deceased;

 JEAN OSLYN POWELL, Individually, as surviving
 Spouse, and Personal Representative of the Estate of
 SHAWN POWELL, Deceased;



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KAREN PRINCIOTTA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
VINCENT PRINCIOTTA, Deceased;
CHRISTINA M. PRINCIOTTA, as surviving Child of
VINCENT PRINCIOTTA, Deceased;

SUSAN PRUNTY, Individually, as surviving Spouse,
and Personal Representative of the Estate of RICHARD
PRUNTY, Deceased;

MICHAEL PUCKETT, Individually, as surviving Child,
and Personal Representative of the Estate of JOHN F.
PUCKETT, Deceased;
DOMINIC J. PUOPOLO, SR., Individually, as surviving
Spouse, and Personal Representative of the Estate of
SONIA M. PUOPOLO, Deceased;

PATRICIA QUIGLEY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PATRICK QUIGLEY, Deceased;
RACHEL QUIGLEY, as surviving Child of Patrick
Quigley, Deceased;
PATRICIA QUIGLEY on behalf of LEAH QUIGLEY,
minor, as surviving Child of PATRICK J. QUIGLEY,
Deceased;

FRANCINE RAGGIO, Individually, as surviving
Spouse, and Personal Representative of the Estate of
EUGENE J. RAGGIO, Deceased;

MICHAEL RAMBOUSEK, Individually, as surviving
Parent, and Personal Representative of the Estate of
LUKAS RAMBOUSEK, Deceased;

DEBORAH BASHAM, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ALFRED TODD RANCKE, Deceased;

MARY ANN RAND, Individually, as surviving Parent,
and Personal Representative of the Estate of ADAM D.
RAND, Deceased;
MARY ANN RAND, as Personal Representative of the
Estate of JAMES RAND, Deceased, surviving Parent of
ADAM D. RAND, Deceased;




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SADIQ RASOOL, Individually, as surviving Spouse,
and Personal Representative of the Estate of AMENIA
RASOOL, Deceased;
FARHAAD N. RASOOL, as surviving Child of
AMENIA RASOOL, Deceased;
ANEESA RASOOL, as surviving Child of AMENIA
RASOOL, Deceased;
ASEEFA RASOOL, as surviving Child of AMENIA
RASOOL, Deceased;
SAEED N. RASOOL, as surviving Child of AMENIA
RASOOL, Deceased;

SUSAN BAUER, Individually, as surviving Spouse, and
Personal Representative of the Estate of ROGER MARK
RASWEILER, Deceased;

NATALYA LOGINOVA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ALEXEY RAZUVAEV, Deceased;

NICOLE REDA, Individually, as surviving Spouse, and
Personal Representative of the Estate of GREGORY
REDA, Deceased;
NICOLE REDA on behalf of MATTHEW A. REDA,
minor, as surviving Child of GREGORY REDA,
Deceased;
CHRISTOPHER REDA, as surviving Sibling of
GREGORY REDA, Deceased;

SHARLENE BECKWITH, Individually, as surviving
Parent, and Personal Representative of the Estate of
MICHELE REED, Deceased;

THERESA REGAN, Individually, as surviving Parent,
and Personal Representative of the Estate of DONALD J.
REGAN, Deceased;

CATHERINE REGENHARD, Individually, as surviving
Parent, and Personal Representative of the Estate of
CHRISTIAN M.O. REGENHARD, Deceased;

 WILLIAM F. REILLY, Individually, as surviving
 Parent, and Personal Representative of the Estate of
 JAMES B. REILLY, Deceased;

 JENNIFER REILLY, Individually, and as Estate
 Representative of the Estate of Kevin Reilly, Deceased


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and on behalf of all survivors of Kevin Reilly;

ARMAND REO, Individually, as surviving Parent, and
Personal Representative of the Estate of JOHN A. REO,
Deceased;

VIVIAN REUBEN, Individually, as surviving Spouse,
and Personal Representative of the Estate of TODD
REUBEN, Deceased;

MARIA CRUZ, Individually, as surviving Sibling, and
Personal Representative of the Estate of EDUVIGIS
REYES, JR., Deceased;
KIMBERLY REYES, as surviving Child of EDUVIGIS
REYES, JR., Deceased;
TIFFANY REYES, as surviving Child of EDUVIGIS
REYES, JR., Deceased;
 STEPHANIE VILLARIN, as surviving Child of
EDUVIGIS REYES, JR., Deceased;
NEMESIO REYES, as surviving Sibling of EDUVIGIS
REYES, JR., Deceased;
LUZ REYES, as surviving Sibling of EDUVIGIS
REYES, JR., Deceased;
 AIDALINE REYES CONCEPCION, as surviving
 Sibling of EDUVIGIS REYES, JR., Deceased;
NYDIA REYES RODRIGUEZ, as surviving Sibling of
EDUVIGIS REYES, JR., Deceased;
IDA HOLDER, as surviving Sibling of EDUVIGIS
REYES, JR., Deceased;
ENOEL REYES, as surviving Sibling of EDUVIGIS
REYES, JR., Deceased;
ISABELL REYES, as surviving Sibling of EDUVIGIS
REYES, JR., Deceased;

ERIN PITT RICHARDS, Individually, as surviving
Spouse, and Personal Representative of the Estate of
GREGORY D. RICHARDS, Deceased;

KIMBERLY TRUDEL, Individually, as surviving
Spouse, and Personal Representative of the Estate of
FREDERICK RIMMELE, III, Deceased;

NILSA RIVERA, Individually, as surviving Spouse, and
Personal Representative of the Estate of ISAIAS
RIVERA, Deceased;




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RICKY VIDER, Individually, as surviving Spouse, and
Personal Representative of the Estate of DAVID E.
RIVERS, Deceased;

JODI RIVERSO, as Personal Representative of the
Estate of JOSEPH R. RIVERSO, Deceased;

PAULETTE ROBERTS and THOMAS ROBERTS,
Individually, and as Parents and Estate Co-Representatives
  of the Estate of Michael E. Roberts, Deceased
 and on behalf of all survivors of Michael E. Roberts;

RODNEY CALLUM, Individually, as surviving Sibling,
and Personal Representative of the Estate of MICHELL
L. ROBOTHAM, Deceased;

KATHERINE ROBSON, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DONALD ROBSON, Deceased;
GEOFFREY ROBSON, as surviving Child of DONALD
ROBSON, Deceased;
SCOTT ROBSON, as surviving Child of DONALD
ROBSON, Deceased;

MARYLYNN PADILLA, Individually, as surviving
Child, and Personal Representative of the Estate of
CARMEN M. RODRIGUEZ, Deceased;

EVELYN RODRIGUEZ, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ANTHONY RODRIGUEZ, Deceased;
LAUREN RODRIGUEZ, as surviving Child of
ANTHONY RODRIGUEZ, Deceased;
DEREK RODRIGUEZ, as surviving Child of
ANTHONY RODRIGUEZ, Deceased;
EVELYN RODRIGUEZ on behalf of MORGAN
RODRIGUEZ, minor, as surviving Child of ANTHONY
RODRIGUEZ, Deceased;
PEDRO RODRIGUEZ, as surviving Parent of
ANTHONY RODRIGUEZ, Deceased;
DESIREE OKSENIUK, as surviving Sibling of
ANTHONY RODRIGUEZ, Deceased;
ANGELIC SUAREZ, as surviving Sibling of
ANTHONY RODRIGUEZ, Deceased;




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RONALD R. ROHNER, Individually, as surviving
Parent, and Personal Representative of the Estate of
SCOTT W. ROHNER, Deceased;

EDITH CRUZ, Individually, as surviving Parent, and
Personal Representative of the Estate of ANGELA
ROSARIO, Deceased;

MARTIN ROSENBAUM, Individually, as surviving
Parent, and Personal Representative of the Estate of
BROOKE D. ROSENBAUM, Deceased;
FERN ROSENBAUM, as surviving Stepparent of
BROOKE D. ROSENBAUM, Deceased;

GLENNA ROSENBERG, Individually, as surviving
Spouse, and Personal Representative of the Estate of
LLOYD ROSENBERG, Deceased;
GLENNA ROSENBERG on behalf of ALYSSA
ROSENBERG, minor, as surviving Child of LLOYD
ROSENBERG, Deceased;

 JILL ROSENBLUM, Individually, as surviving Spouse,
 and Personal Representative of the Estate of ANDREW
I. ROSENBLUM, Deceased;
 JORDAN ROSENBLUM, as surviving Child of
 ANDREW I. ROSENBLUM, Deceased;
KYLE ROSENBLUM, as surviving Child of ANDREW
I. ROSENBLUM, Deceased;
BARBARA ROSENBLUM, as surviving Parent of
 ANDREW I. ROSENBLUM, Deceased;
 SHEILA ORNSTEIN as Personal Representative of the
Estate of JASON ROSENBLUM, Deceased, surviving
Parent of ANDREW I. ROSENBLUM;
 SHEILA ORNSTEIN, as surviving Sibling of ANDREW
I. ROSENBLUM, Deceased;
RICHARD ROSENBLUM, as surviving Sibling of
 ANDREW I. ROSENBLUM, Deceased;
 ADAM ROSENBLUM, as surviving Sibling of
 ANDREW I. ROSENBLUM, Deceased;

LAUREN ROSENZWEIG, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PHILLIP ROSENZWEIG, Deceased;




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